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     IT IS ORDERED as set forth below:



     Date: January 29, 2018                      _________________________________

                                                            Mary Grace Diehl
                                                      U.S. Bankruptcy Court Judge

     ______________________________________________________________


                  UNITED STATES BANKRUPTCY COURT
                   NORTHERN DISTRICT OF GEORGIA
                           ROME DIVISION


IN RE:                                   Case No. 17-42346-MGD
PATRICIA J. PORTER
                  Debtor



EDWARD SCOTT RICE AND                    Chapter 13
MARY RICE
               Plaintiffs

v.                                       Adversary Proceeding
PATRICIA J. PORTER                       No. 18-04001-mgd

                       Defendant



 ORDER GRANTING CONSENT MOTION FOR EXTENSION OF TIME
              TO RESPOND TO COMPLAINT

        THIS MATTER coming before the court on Defendant’s Consent Motion

for Extension of Time to Respond to Complaint, due notice to the parties and the
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court being advised on the premises and good cause shown, IT IS HEREBY

ORDERED THAT:

      Defendant’s Motion is GRANTED. Defendant shall have addition time up to

and including April 5, 2018, in which to respond to Plaintiff’s Complaint.



                                 END OF DOCUMENT



Ordered prepared by:

/s/ Howard P. Slomka
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Attorney for Defendant


Consent by:

/s/ Charles E. Nye
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